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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 DEMOCRATIC NATIONAL COMMITTEE,
 et al.,

           Plaintiffs,
                                                          Civil Action No. 25-00587 (AHA)
     v.

 DONALD J. TRUMP, et al.,

           Defendants.


                                      Memorandum Opinion

          The Democratic Party’s three national political committees brought this action against the

President, Attorney General, Federal Election Commission (“FEC”), and FEC Commissioners

after the President signed Executive Order 14215. The committees challenge a section of the order

that states “the President and the Attorney General’s opinions on questions of law are controlling

on all employees” of the executive branch and “[n]o employee of the executive branch acting in

their official capacity may advance an interpretation of the law as the position of the United States

that contravenes the President or the Attorney General’s opinion on a matter of law.” Exec. Order

No. 14215, 90 Fed. Reg. 10447, 10448–49 (Feb. 18, 2025). Concerned that these pronouncements

undermine the FEC’s independence, the committees seek a declaration that the Federal Election

Campaign Act (“FECA”)—which establishes the FEC and requires its Commissioners to exercise

independent legal judgment—is constitutional, and an order enjoining all the defendants from

applying this section of the executive order to the FEC or its Commissioners. The committees

move for preliminary relief, while the President and Attorney General and, separately, the FEC
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and its Commissioners, move to dismiss the action for lack of jurisdiction and failure to state a

claim.

         In response to the committees’ lawsuit, the President and Attorney General affirmatively

disclaim a challenge to FECA’s constitutionality. Counsel for the President and Attorney General

also offer affirmative representations to the Court that they have not attempted to apply—and they

are aware of no indication there ever will be an attempt to apply—the executive order to dictate or

influence the FEC’s interpretations of FECA. Counsel for the FEC represents to the Court further

that the agency and its Commissioners would not understand directives received from the President

or Attorney General to interfere with the Commissioners’ independent judgment or how they vote.

On this record—lacking any specific allegations that the challenged section has been or will be

applied to the FEC or its Commissioners, in accord with the representations of counsel—the Court

grants the defendants’ motions to dismiss for lack of a concrete and imminent injury sufficient to

establish standing and ripeness.

I.       Background

         A.     FECA, The FEC, And Their Regulation Of The Committees.

         In 1971, Congress passed FECA to regulate campaign fundraising and spending in federal

elections. Among other things, FECA sets limits on campaign contributions, rules for how political

committees can organize themselves and operate, reporting requirements for political committees,

and disclosure requirements for political advertisements. See 52 U.S.C. §§ 30102, 30104, 30116,

30120.

         Less than one year after FECA became law, affiliates of President Richard Nixon’s

reelection campaign used campaign contributions to pay for burglary and wiretapping of the

Democratic National Committee’s headquarters at the Watergate Hotel and office complex. After

this came to light, the Senate Select Committee on Presidential Campaign Activities investigated


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this and other misconduct connected to Watergate and observed that “[s]urely one of the most

penetrating lessons of Watergate is that campaign practices must be effectively supervised . . . if

our free institutions are to survive.” S. Rep. No. 93-981, at 564 (1974).

       Congress responded by amending FECA and, relevant here, ensuring that the interpretation

and enforcement of FECA’s federal campaign finance rules would be conducted by a bipartisan

oversight board—the FEC. Congress understood itself to be creating “an independent nonpartisan

agency to supervise the enforcement of the laws relating to the conduct of elections” and described

this new agency as “[p]robably the most significant reform that could emerge from the Watergate

scandal.” Id. In the years after, the Supreme Court recognized the FEC as an “inherently bipartisan”

agency that carries “primary and substantial responsibility for administering and enforcing” FECA

and “extensive rulemaking and adjudicative powers.” FEC v. Democratic Senatorial Campaign

Comm., 454 U.S. 27, 37 (1981) (quoting Buckley v. Valeo, 424 U.S. 1, 109⁠–10 (1976)).

       In structure, the FEC “is patterned on the classic independent regulatory agency.” FEC v.

NRA Pol. Victory Fund, 6 F.3d 821, 826 (D.C. Cir. 1993). Congress required the FEC be composed

of six members appointed to staggered terms by the President with the Senate’s advice and consent,

with no more than three members who are “affiliated with the same political party.” 52 U.S.C.

§ 30106(a)(1)–(2). Congress also embedded that independence into the FEC’s decisionmaking. It

assigned the FEC authority to “administer, seek to obtain compliance with, and formulate policy”

under FECA, including “exclusive jurisdiction with respect to the civil enforcement” of that Act

and the power “to render advisory opinions” to parties and campaigns concerning the application

of FECA. Id. §§ 30106(b)(1), 30107(a)(7), 30108. In doing so, Congress limited exercise of the

FEC’s most significant powers—making, amending, and repealing rules, approving enforcement

actions, issuing advisory opinions, and referring apparent violations to law enforcement—to when




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at least four Commissioners agree. Id. §§ 30106(c), 30107(a)(6)–(9). This “inherently bipartisan

structure” guarantees that when political campaigns and parties request rules or advisory opinions,

or defend against complaints—all in an area necessarily “charged with the dynamics of party

politics”—they can expect fairness. Democratic Senatorial Campaign Comm., 454 U.S. at 37.

       The Democratic National Committee, Democratic Senatorial Campaign Committee, and

Democratic Congressional Campaign Committee, together, are the national Democratic Party for

purposes of campaign finance law. ECF No. 1 ¶ 16. Virtually everything the committees do, from

how they raise and spend money to how they interact with candidates and other political actors, is

regulated by FECA. Id. ¶¶ 13–16, 46. Accordingly, FEC guidance in the form of policy documents,

rulemakings, and other sources structures nearly every aspect of the committees’ activity. Id. ¶¶ 16,

46. For example, the committees regularly seek FEC advisory opinions explaining whether a

proposed course of action violates FECA, which can be important because good faith reliance on

such opinions immunizes a party from any sanctions for violating FECA. Id. ¶ 48; 52 U.S.C.

§ 30108(c). The committees also defend against complaints filed with the FEC alleging they have

violated FECA—indeed, one of the plaintiffs, the Democratic Senatorial Campaign Committee, is

currently defending against a challenge to its classification of advertisements in a 2024 Senate

campaign. ECF No. 1 ¶¶ 47, 51–54.

       B.      Executive Order 14215 And The Present Action.

       On February 18, 2025, the President issued Executive Order 14215, entitled “Ensuring

Accountability for All Agencies.” Exec. Order No. 14215, 90 Fed. Reg. at 10447. The order states

that “previous administrations have allowed so-called ‘independent regulatory agencies’ to operate

with minimal Presidential supervision” and sets out to “ensure Presidential supervision and control

of the entire executive branch.” Id. § 1. Most relevant here, section seven of the order states that

“the President and the Attorney General’s opinions on questions of law are controlling on all


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employees in the conduct of their official duties.” Id. § 7. It also states that executive branch

employees acting in their official capacities cannot “advance an interpretation of law as the

position of the United States that contravenes the President or the Attorney General’s opinion on

a matter of law.” Id.1

          Shortly after the President signed Executive Order 14215, the committees brought this

action asserting two claims. The first asks for a declaration that FECA’s provisions insulating the

FEC from partisan control are constitutional. ECF No. 1 ¶ 73. Because “all questions of [FECA’s]

constitutionality” are certified to the court of appeals for en banc review, the complaint asked this

Court to certify the question of FECA’s constitutionality to the en banc D.C. Circuit. 52 U.S.C.

§ 30110; ECF No. 1 ¶ 73. The second claim asks the Court to enjoin application of section seven

of the executive order as it relates to the FEC and its Commissioners, and the committees moved

for a preliminary injunction providing that relief while they litigate this case. ECF No. 1 ¶ 79; ECF

No. 12.

          The President and Attorney General and, separately, the FEC and its Commissioners, filed

motions to dismiss for lack of subject-matter jurisdiction and failure to state a claim under Federal

Rules of Civil Procedure 12(b)(1) and 12(b)(6). ECF Nos. 17, 26.2




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    The executive order includes other sections addressing Presidential control over the executive
branch, including expanding the list of agencies that must submit regulatory actions to the Office
of Information and Regulatory Affairs for review and instructing the Director of the Office of
Management and Budget to “establish performance standards and management objectives for
independent agency heads, as appropriate and consistent with applicable law.” Exec. Order No.
14215 §§ 3, 4. The committees limit their challenge to section seven.
2
   The FEC and its Commissioners are represented by their own counsel. Counsel appeared and
made submissions for all four Commissioners, affiliated with both major parties.


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II.    Discussion

       To survive dismissal under Rule 12(b)(1), a plaintiff must show that the Court has subject-

matter jurisdiction to hear their claim. See Shuler v. United States, 531 F.3d 930, 932 (D.C. Cir.

2008). Article III of the Constitution restricts the jurisdiction of federal courts to “Cases” and

“Controversies.” U.S. Const. art. III, § 2. The Supreme Court has said that “[n]o principle is more

fundamental to the judiciary’s proper role in our system of government than the constitutional

limitation of federal-court jurisdiction to actual cases or controversies.” Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 408 (2013). Federal courts are accordingly confined to live controversies—

ones that the plaintiff has standing to bring, that have ripened into a concrete dispute, and that have

not become moot. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006).

       A.      All Defendants Concede FECA Is Constitutional, So There Is No Live Dispute
               About That.

       FECA authorizes the national committee of any political party to file a federal action “for

declaratory judgment, as may be appropriate to construe the constitutionality” of the Act and

provides that the district court “immediately shall certify all questions of constitutionality” to the

en banc court of appeals. 52 U.S.C. § 30110. When a party seeks certification, a district court must

undertake limited screening of the claim—for example, a district court must examine jurisdiction

over the claim and may forgo certification of “frivolous” or “purely hypothetical” questions. Cal.

Med. Ass’n v. FEC, 453 U.S. 182, 192 n.14 (1981); see also Wagner v. FEC, 717 F.3d 1007, 1009

(D.C. Cir. 2013).

       Here, the committees’ first count asserts that the executive order’s pronouncement that the

President and Attorney General may issue “authoritative” and “controlling” legal interpretations

to executive employees creates “a concrete, ripe dispute” about “the constitutionality of FECA’s

provisions vesting the Commissioners with the authority to exercise their independent legal



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judgment when interpreting the Act.” ECF No. 1 ¶¶ 65–66. The complaint details the provisions

of FECA setting forth the FEC’s independent structure and responsibilities and guaranteeing the

exclusivity and independence of the FEC’s decisionmaking. Id. ¶¶ 22–30. The complaint further

requests immediate certification to the en banc D.C. Circuit to defend the constitutionality of

“FECA’s vesting of authority to interpret the Act in the Commission, not the President and

Attorney General.” Id. ¶¶ 72–73.3

       The President and Attorney General argue for dismissal of this count by relinquishing any

challenge to FECA’s constitutionality. They repeatedly urge that certification to the en banc D.C.

Circuit would be inappropriate because “[n]one of the parties before the Court has asserted that

the FECA is unconstitutional.” ECF No. 17-1 at 2; see also ECF No. 30 at 16 (“[N]o Defendant is

arguing that FECA is unconstitutional.”). The FEC and its Commissioners similarly state their

“agree[ment] with Plaintiffs as to FECA being constitutional.” ECF No. 26-1 at 21.4 Given these

representations, the committees accept “there is no live constitutional question” remaining for the

en banc Circuit or this Court. ECF No. 39 at 2; see id. at 18. The Court accordingly dismisses the

first count of the committees’ complaint seeking a declaration of FECA’s constitutionality.

       B.      The Committees Have Not Shown An Article III Injury Allowing Injunctive
               Relief.

       The committees’ second count asks the Court to enjoin application of section seven of the

executive order to the FEC or its Commissioners. ECF No. 1 ¶ 79. The President and Attorney


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    Plaintiffs moved for a preliminary injunction prior to certification based on cases recognizing
that § 30110 “does not deprive [a district court] of its jurisdiction to rule on [a] preliminary
injunction motion.” Brown v. FEC, 386 F. Supp. 3d 16, 25 (D.D.C. 2019); see also Rufer v. FEC,
64 F. Supp. 3d 195, 205–06 (D.D.C. 2014).
4
    By disclaiming a challenge to FECA’s constitutionality as an affirmative basis to defeat
certification to the en banc Circuit, the President, Attorney General, FEC, and Commissioners
have “knowingly and intelligently relinquished” any such argument. Wood v. Milyard, 566 U.S.
463, 470 n.4 (2012).


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General respond that the committees have not shown sufficiently concrete and imminent injury,

arguing that section seven of the executive order does not specifically mention or require that any

action be taken with respect to the FEC in the first place. They also emphasize through briefing

and oral representations of counsel that the section has not been applied to employees of the FEC

and there is no plan to apply it to the FEC. See ECF No. 44 at 50 (“There have been no authoritative

legal opinions on anything touching the FEC.”); id. at 47 (arguing “there are many agencies,” so

the order “certainly doesn’t . . . indicate a specific intent or plan to do something specifically

involving the FEC”); see also ECF No. 17-1 at 7, 11; ECF No. 30 at 3, 8, 10, 14; ECF No. 42 at

5. For their part, the FEC and its Commissioners also insist that the committees have not been

injured in any relevant way, confirming that the agency and its Commissioners have not received

any directives about FECA or otherwise under section seven of the executive order. ECF No. 26-

1 at 11 (emphasizing that the injury the committees allege “has not come to pass, and indeed there

are particular reasons to believe it will not come to pass”); ECF No. 31 at 2, 15; ECF No. 44 at 86.

The FEC and its Commissioners add further that even if they were to receive a directive

interpreting FECA from the President or Attorney General, they would not allow it to interfere

with the Commissioners’ statutory obligation to vote based on their independent judgment. ECF

No. 44 at 84–85, 88 (representing that, irrespective of the order, “the Commission is conducting

its business as it has two weeks ago, two months ago, two years ago”).

       The possibility that the President and Attorney General would take the extraordinary step

of issuing a directive to the FEC or its Commissioners purporting to bind their interpretation of

FECA is not sufficiently concrete and imminent to create Article III injury. Whether viewed as a

question of standing—requiring “an injury that is concrete, particularized, and imminent rather

than conjectural or hypothetical”—or of ripeness—requiring an injury that is “not dependent on




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contingent future events that may not occur as anticipated, or indeed may not occur at all”—this

type of allegation would fall short. Trump v. New York, 592 U.S. 125, 131 (2020) (quotation marks

omitted) (quoting Texas v. United States, 523 U.S. 296, 300 (1998)); see also MedImmune, Inc. v.

Genentech, Inc., 549 U.S. 118, 128 n.8 (2007) (recognizing that Article III standing and ripeness

generally “boil down to the same question” in cases where the plaintiff challenges a law before it

is enforced against them). The Supreme Court has held future injury suffices only “if the threatened

injury is certainly impending, or there is a substantial risk that the harm will occur.” Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (quotation marks omitted) (quoting Clapper,

568 U.S. at 414 n.5); see also Clapper, 568 U.S. at 412 (holding that future injury was “necessarily

conjectural” because it stemmed from a statute that merely authorized but did not “mandate or

direct” allegedly unlawful conduct); Defs. of Wildlife v. Perciasepe, 714 F.3d 1317, 1324–25 (D.C.

Cir. 2013) (concluding that a consent decree that set a timeline by which an agency must conduct

a rulemaking but did not require the agency to promulgate a rule or dictate the rule’s substance did

not produce a cognizable injury because “Article III standing requires more than the possibility of

adverse regulation”).

       Here, the committees do not allege that the President or Attorney General has applied

section seven of the executive order to the FEC or its Commissioners by purporting to issue an

“authoritative” or “controlling” interpretation of FECA despite the FEC and its Commissioners’

statutorily protected independence. Exec. Order No. 14215 § 7. Nor do the committees plausibly

allege the President or Attorney General plans to do so. And the Court cannot conclude from the

text of section seven alone, which refers to executive employees generally and does not mention

the FEC, that this type of extraordinary step by the President or Attorney General is certainly

impending or a “substantial risk.” Clapper, 568 U.S. at 414 n.5; see also Chamber of Com. of U.S.




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v. EPA, 642 F.3d 192, 200 (D.C. Cir. 2011) (explaining that “alleging only future injuries confronts

a significantly more rigorous burden to establish standing” (quoting United Transp. Union v.

ICC, 891 F.2d 908, 913 (D.C. Cir. 1989))).

       While courts have allowed plaintiffs to bring actions challenging FECA regulations that

have not yet been enforced, in those cases the plaintiffs were able to point to a particular prohibition

that blocked a specific action they wanted to take. See, e.g., Wagner, 717 F.3d at 1009; Libertarian

Nat’l Comm. v. FEC, 228 F. Supp. 3d 19, 22–23 (D.D.C. 2017); Nat’l Republican Senatorial

Comm. v. FEC, 712 F. Supp. 3d 1017, 1029 (S.D. Ohio 2024); see also Susan B. Anthony List, 573

U.S. at 159 (explaining that the Supreme Court has “permitted pre-enforcement review under

circumstances that render the threatened enforcement sufficiently imminent”). Here, there is no

allegation that the defendants have prohibited or expressed an intention to prohibit any actions the

committees wish to take, so there is no “credible threat of enforcement.” Susan B. Anthony List,

573 U.S. at 159.5

       The committees claim that their injury does not depend on any future action. They argue

that the executive order language requiring executive employees to abide by the President and

Attorney General’s legal interpretations itself marks “[t]he extinction of the FEC’s independence.”

ECF No. 1 ¶ 46; see also ECF No. 39 at 7. The committees point out that they represent one of

only two major political parties and virtually everything they do is regulated by the FEC, including

critical election activities. ECF No. 39 at 7. They contend that this amounts to present harm—an



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    The committees express concern that they may never know if the President or Attorney General
purports to issue a controlling interpretation of FECA because the executive order does not require
a public announcement. ECF No. 44 at 17. In response, counsel for the President and Attorney
General confirmed that the executive order, by its terms, can only be effectuated through a formal
legal opinion “that contains some indication that it’s expressing a legal view for the entire
executive branch,” rather than a private communication between the President or Attorney General
and the FEC. Id. at 51.


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FEC whose independence has been compromised must be accounted for in their strategic and day-

to-day decisionmaking. The committees allege that they are taking costly precautions to limit their

interactions with the FEC to minimize the risk that the FEC will take adverse actions against them

based on a legal position dictated by the President or the Attorney General. ECF No. 1 ¶ 70. In

part, that means the committees have decided against seeking FEC guidance through, for example,

petitions for FEC rulemaking or requests for advisory opinions, in situations where they otherwise

would have. Id. ¶¶ 8, 59–60, 70. It also means that the committees are avoiding campaign strategies

that could result in unwanted FEC attention, possibly in the form of a complaint filed with the

agency. Id. ¶¶ 50, 57, 70. In short, the committees are chilled from engaging in political activity

and interacting with the agency as they normally would because of the serious potential

consequences of doing business as usual with an FEC whose legal positions are decided by a

political opponent.

       The Court does not doubt that the committees would have cause for profound concern were

the FEC’s independence to be compromised. See id. ¶ 46. Given the FEC’s central role in

overseeing parties and campaigns, a compromise of its independence would pose an immense

threat to our democratic elections, for all the reasons Congress established the FEC’s independence

in the first place. But the Supreme Court has explicitly rejected the notion that a plaintiff can show

cognizable injury by claiming “that they experienced a ‘chilling effect’ that resulted from a

governmental policy that does not regulate, constrain, or compel any action on their part.” Clapper,

568 U.S. at 419. In cases where activity is chilled, the Supreme Court has limited Article III injury

to where “the challenged exercise of governmental power was regulatory, proscriptive, or

compulsory in nature, and the complainant was either presently or prospectively subject to the

regulations, proscriptions, or compulsions that he was challenging.” Laird v. Tatum, 408 U.S. 1,




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11 (1972). Here, the executive order does not “presently or prospectively subject” the committees

to any “regulations, proscriptions, or compulsions.” Id.; see also United Presbyterian Church in

the U.S.A. v. Reagan, 738 F.2d 1375, 1380 (D.C. Cir. 1984) (holding that plaintiffs’ allegations of

chill stemming from an executive order that “merely authorizes” but “does not direct” allegedly

unlawful government activity did not establish cognizable injury). And although the committees

emphasize section seven’s compulsory nature in that it requires executive employees to comply

with the President and Attorney General’s legal opinions, the section does not require the President

or the Attorney General to issue any opinions in the first place. See ECF No. 39 at 12–13

(distinguishing Executive Order 14215 from the executive orders at issue in United Presbyterian

Church, 738 F.2d 1375; Center for Democracy & Technology v. Trump, 507 F. Supp. 3d 213

(D.D.C. 2020); and Public Citizen, Inc. v. Trump, 435 F. Supp. 3d 144 (D.D.C. 2019)); ECF No.

17-1 at 12 (“The Executive Order does not bind the President or Attorney General to stake a

position on any or every legal issue that will appear before the Commission.”).

       In Clapper, attorneys, journalists, and other plaintiffs with foreign contacts sought to enjoin

application of a statute authorizing extensive surveillance of foreign intelligence targets. Clapper,

568 U.S. at 401. In addition to alleging injury based on the likelihood that their communications

would be surveilled in the future, they argued injury based on “present costs and burdens” they

had undertaken based on fear of surveillance. Id. at 416. After rejecting the future harm as too

speculative, the Supreme Court rejected the present costs as well. As the Supreme Court saw it,

finding injury based on the burdens caused by uncertainty would permit plaintiffs to “manufacture

standing merely by inflicting harm on themselves based on their fears of hypothetical future harm

that is not certainly impending.” Id. The Supreme Court accordingly held that the fact plaintiffs

“incurred certain costs as a reasonable reaction to a risk of harm” based on subjective fear could




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not demonstrate Article III injury. Id. The Court said this is so even if the fear giving rise to the

costs and burdens is not “fanciful, paranoid, or otherwise unreasonable.” Id.; see also Saline

Parents v. Garland, 88 F.4th 298, 300–01, 305 (D.C. Cir. 2023) (concluding that parents who

opposed “progressive” curricula in public schools and felt chilled by a government policy of

investigating and tracking intimidation of public school staff could not show an Article III injury

because “initial plans by [the government] to investigate and strategize internally” do not “threaten

imminent legal action against anyone”).

       It follows that the committees’ allegation of current burdens out of fear that the President

or Attorney General will apply section seven of the executive order to the FEC or its

Commissioners, reasonable or not, is not Article III injury. At bottom, the committees’ claim and

stated basis for an injunction is that their dealings with the FEC have changed or will change, and

governing precedent requires them to point to a concrete basis for this conclusion. They have not

done so here. The committees point to the executive order, but they have not alleged any concrete

basis to infer that the FEC is targeted by section seven, which does not single out the FEC and

applies broadly to all executive employees. The committees have not alleged any concrete steps to

issue a directive to the FEC or its Commissioners under the executive order, or even an intent to

do so.6 And the committees have not alleged any concrete basis for inferring that the FEC or any

of its Commissioners have changed their practices in any way that could be traced back to the

executive order. Plausible allegations as to any of these things would be relevant to demonstrating

injury; the absence of allegations as to any deprives the Court of a controversy it can resolve.



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    The President and Attorney General have acknowledged that if they were to issue an opinion
that purported to control an interpretation of FECA that conflicts with the FEC’s interpretation,
there would be an Article III injury. ECF No. 44 at 53–54. They also acknowledge that, short of
an opinion, the announcement of a specific intent to issue such an opinion can satisfy the requisite
injury as well. Id. at 57–58.


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        To the contrary, the Court is mindful that the FEC and its Commissioners—affiliated with

both major political parties—avowed that section seven has not and will not change the

Commissioners’ exercise of independent judgment. Counsel for the FEC and Commissioners has

represented to the Court that the agency “is conducting its business as it has two weeks ago, two

months ago, two years ago” irrespective of the executive order. When asked about the agency’s

hypothetical receipt of a directive from the President or Attorney General, counsel for the FEC

and its Commissioners represented that their position would be to “look at their charge, their duties

under FECA, and then they would take and come to a decision on how best to proceed based on

that.” ECF No. 44 at 85. Indeed, the FEC and Commissioners accept the committees’ premise that

the Commissioners’ failure to exercise independent legal judgment to implement the executive

order would “violate the law.” ECF No. 26-1 at 16. While by no means dispositive, it is meaningful

that the FEC and its bipartisan Commissioners—the very agency and offices Congress created to

safeguard the vital issues that the committees fear is under threat—have made representations that

the executive order has and will have no effect on their operations or decisionmaking.

        This Court’s doors are open to the parties if changed circumstances show concrete action

or impact on the FEC’s or its Commissioners’ independence. Absent such allegations, however,

the Court must dismiss the case for lack of jurisdiction and therefore does so.

III.    Conclusion

        The defendants’ motions to dismiss are granted. The committees’ motion for preliminary

injunction is denied as moot. A separate order accompanies this memorandum opinion.




                                                      AMIR H. ALI
                                                      United States District Judge

Date: June 3, 2025


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